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                            UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF RHODE ISLAND


 IN RE:
 DAVID W. WAGNER                                                  :                BK. NO. 18-10071
             Debtor                                               :                CHAPTER 7

                             TRUSTEE=S RESPONSE TO DEBTOR=S
                                  OBJECTION TO CLAIMS

         Now comes Stacy B. Ferrara, Chapter 7 Trustee in the above matter, and hereby responds

 to the fifty (50) Objections to claims (#2, 3, 4,5,6,7, 8,10,11,12,13,16,19,20,22,23,24,25,26,27,

 28, 29, 30, 31, 33, 34, 36, 37, 38, 39, 40, 41, 44, 45, 46, 48, 49, 50, 51, 52, 53, 54, 55, 56, 57, 58, 59,

 60, 61, 62, 63 and 64 (collectively the AClaims@)) filed by the Debtor pursuant to Fed. R. Bankr. P.

 3007. The Claims, as filed, generally seek payment for unpaid wages, unpaid compensation, and

 reimbursements, and for the return of funds allegedly obtained through the fraud of the Debtor.

 The Debtor has filed blanket objections to the Claims asserting they are: a.) not an obligation of the

 Debtor as he did not personally employ each Claimant; b.) do not attach any documentation in

 support of each Claim, nor do they include a summary of each claim; and c.) the Debtor has not

 committed any fraud against the claimants. Of the fifty (50) Objections to the Claims that have

 been filed, 20 of the claimants have filed complaints against the Debtor objecting to the discharge

 of their debt pursuant to 11 U.S.C. '523 or '727 based in full, or part, on the Debtor’s alleged

 fraud. (The Debtor has raised similar defenses in those proceedings asserting the debt so alleged is

 not the obligation of the Debtor.) The remainder of the fifty (50) claimants appear to be

 unrepresented by counsel.

         The Trustee has conducted numerous Creditors= Meetings in this matter, but has not yet

 concluded said Meeting as the Trustee and her counsel have made numerous requests for

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 information and documentation from the Debtor that remain unsatisfied. The next, and hopefully

 last, Creditor=s Meeting is scheduled for February 13, 2019. The Debtor has testified under oath

 that he filed his bankruptcy pro se, and prepared his own original schedules and Statement of

 Financial Affairs (Doc 15) on January 15, 2018 (the “Doc 15”). He acknowledge that he signed

 Doc 15 under the pains and penalties of perjury, and that the contents were true and accurate to the

 best of his knowledge. Substantially all of the aforementioned Claims were scheduled on Doc 15

 by the Debtor as “contingent” “Debt incurred by him” with an Aunknown@ balance. Not one of the

 aforementioned Claims were scheduled by the Debtor on Doc 15 as “disputed debts, or as joint

 debts with other obligors. After engaging experienced bankruptcy counsel, engaging a second

 counsel, having the benefit of reviewing several proof of claims, reviewing several Adversary

 Proceedings filed against him, and giving testimony at several Creditors’ Meetings, the Debtor

 amended Doc 15 on November 1, 2018 (the “Amendment”). At that time, the Debtor failed to

 remove from his Schedules the fifty (50) Claims he now disputes because these claimants were not

 actually creditors of his. Nor did the Amendment assert that he actually disputed the scheduled

 debt. The Debtor is now asserting that he has no personal liability for all fifty (50) claims, and any

 liability for the Claims is that of the various entities owned or controlled by him and his family.

        Through testimony obtained at the Debtor=s Creditors’ Meetings, the Debtor has testified

 that he and or members of his immediate family held interests in over a dozen entities pre-petition,

 many of which were incorporated in Delaware and states other than Rhode Island. The Debtor

 admits that for a substantial number of these entities, he managed and controlled operations as well

 as had signature authority over their respective bank accounts. Many of the entities were either

 defunct, or otherwise had their corporate charters revoked as of the date of the bankruptcy filing.


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 The Debtor further testified that employees were hired at his direction. As substantial number of

 the Claims assert that as a condition of employment, the Debtor solicited, and the claimants paid,

 at the direction of the Debtor, substantial sums to entities in which the Debtor or his family

 members held an interest, and exclusively controlled. Upon information and belief, only one of

 entities in which the Debtor held an interest, produced or sold a product, or had any sales of any

 kind. Rather, all of the income/investments paid into these entities were from private investors

 and/or employees. The sums raised were used, among other things, to pay the operating expenses

 of the entities, including but not limited to compensation of employees and operating expenses of

 the entities, as well as “Management Fees” due the Debtor and/or entities controlled by the Debtor.

        Subpoenaed bank records obtained by the Trustee indicate that substantial funds paid to

 these entities by the holders of the Claims were, at the direction of the Debtor, used to pay the

 personal living and entertainment expenses of the Debtor, and his family members, and were also

 transferred to other entities owned and controlled by the Debtor and his family. The Debtor has

 testified either there are minimal accounting records evidencing the payment of the “Management

 Fees” or the records, if they existed, are now missing. Substantially all of the Claims to which the

 Debtor has objected assert that they have been defrauded by the Debtor as their funds were

 solicited by the Debtor and paid to entities owned and or controlled by the Debtor at the direction

 of the Debtor.

        Pursuant to 11 U.S.C. §502 (a), a claim or interest, proof of which is filed under section 501

 of this title, is deemed allowed, unless a party in interest ... objects. Objections to a claim must be

 filed in good faith, and are subject to the requirements of Fed.R.Bankr.P.9011(b). See: In re

 MacFarland, 462 B.R. 857 (Bkrtcy S.D. Fla 2011). Fed. R.Bankr.P 9011(b) provides that when


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 filing a:

         “petition, pleading, written motion or other paper, an attorney@... Ais certifying that to the
         best of the person=s knowledge, information and belief, formed after an inquiry under the
         circumstances, (emphasis added)

         (1) it is not being presented for any improper purpose, such as to harass or to cause
         unnecessary delay or needless increase in the cost of litigation;

         (2) the claims, defenders, and other legal contentions therein are warranted by existing law
         or by a nonfrivolous argument for the extension, modification or reversal of existing law or
         the establishment of new law;

         (3) the allegations and other factual contentions have evidentiary support or, if specifically
         so identified, are likely to have evidential support after a reasonable opportunity for further
         investigation or discovery; and

         (4) the denials of factual contentions are warranted on the evidence or, if specifically so
         identified, are reasonably based on lack of information or belief.@


         Upon the filing of each of the Claims to which the Debtor has objected, the undersigned, or

 her counsel, have communicated with substantially all Claimants, and have requested that each

 provide documentation to support each claim. The Trustee and her counsel have received

 extensive documentation for the basis of each of the Claims including copies of pleadings filed in

 various courts throughout the country. The Debtor fails to allege in his objections that he has

 communicated with the Claimants, or has conducted his own due diligence regarding the basis of

 the Claims to which he has objected. To fail to do so, flies in the face of the obligations and intent

 of Fed. R. Bankr. P 9011(b).

         Considering the fact that the Debtor originally scheduled each of the Claims on his sworn

 bankruptcy schedules as Acontingent,@ and not as Adisputed,@ and considering the Debtor has not

 even alleged that he or his counsel has attempted to request additional support for each of the

 Claims to which he has objected, the undersigned asserts that the Objections before this Court

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 should be overruled as they violate Fed. R. Bankr. P 9011(b). The Trustee asserts this objection

 to the Debtor=s Objections to the Claims for the protections of the claimants, many of which are

 proceeding pro se, and reserves her right to amend her Objection as documents are subsequently

 obtained to seek sanctions forthwith.

        WHEREFORE, for the foregoing reasons, the Trustee respectfully Objects to the Debtor=s

 Objection to the Claims referenced herein; requests that the resolution of said Objections be held in

 abeyance until such time as the Trustee concludes the Meeting of Creditors, completes her

 discovery in association therewith; and this Court renders a final decision as to the adversary

 proceedings filed by several of said Claimants asserting Objections to Discharge; and grant such

 other and further relief as this Court deems just and appropriate.



                                                       Respectfully submitted,
                                                       /s/ Stacy B. Ferrara
                                                       STACY B. FERRARA, Trustee
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 Dated: January 22, 2019




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                                        ADMINISTRATIVE GENERAL ORDER-- FORM B

                  UNITED STATES BANKRUPTCY COURT
                  FOR THE DISTRICT OF RHODE ISLAND
 --------------------------*
 In re:                    :
 DAVID W. WAGNER            :            BK No. 18-10071
           Debtor          :             Chapter 7
 --------------------------*

                                 CERTIFICATE OF SERVICE

        I hereby certify that on January 22, 2019, I electronically filed Trustee=s Response to

 Debtor=s Objections to Proof of Claims with the Clerk of the Bankruptcy Court for the District of

 Rhode Island using the CM/ECF System. The following participants have received notice

 electronically: US Trustee; Russell D. Raskin; Catherine V. Eastwood; Elizabeth A.

 Lonardo; Peter J. Furness; Matthew J. McGowan; Charles A. Pisaturo, Jr.; Jeffrey C.

 Ankrom; Joseph A. Farside, Jr; Vincent A. Indeglia; and Lynda L. Laing and I hereby certify

 that I have mailed by United States Postal Service, postage pre-paid, the document and a copy of

 the Notice of Electronic Filing to the following non CM/ECF participants to all parties on the

 attached matrix, and the following:

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